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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

In re                                            §
PROVIDENCE HOSPITAL OF                           §                     Bankruptcy No. 20-34238
NORTH HOUSTON, LLC,                              §                                   Chapter 7
                   Debtor;                       §
                                                 §
ALLISON D. BYMAN, CHAPTER 7                      §
TRUSTEE,                                         §
                    Plaintiﬀ,                    §
                                                 §
                                                                        Adversary No. 22-03330
v.                                               §
                                                 §
RRL CAPITAL INVESTMENTS, LLC,                    §
                   Defendant.                    §


       DEFENDANT’S NOTICE OF CONSENT TO THE ENTRY OF FINAL ORDERS
                    PURUSANT TO BLR 7008-1 AND 7012-1


TO THE HONORABLE EDUARDO V. RODRIGUEZ:

       Defendant, Doctors Hospital 1997 LP d/b/a United Memorial Medical Center

(“UMMC”) agrees that Plaintiﬀ’s claims constitute a core proceeding pursuant to 28 U.S.C.

§ 157(b)(2)(A), (B), and (K). UMMC believes the Bankruptcy Court has the constitutional author-

ity to enter a final judgment in this adversary proceeding, and it consents to the entry of a final

judgment by the Bankruptcy Court.

       DATED this 6th day of March 2023.

                                                            Respectfully Submitted,

                                                            Pendergraft & Simon, LLP

                                                            /s/ William P. Haddock
                                                            Leonard H. Simon
                                                             Texas Bar No. 18387400
                                                             S.D. Tex. Adm. No. 8200


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                                         Counsel for Defendant




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                                           Certificate of Service

I hereby certify that a true and correct copy of the above Defendant’s Notice of Consent to the
Entry of Final Orders Purusant to BLR 7008-1 and 7012-1 has been served on the following coun-
sel/parties of record in accordance with the Fed. R. Bankr. P. 7005 and local rules for ECF service
on this 6th day of March 2023:

 Counsel/parties appearing electronically via ECF:

     Timothy A. Million, Counsel for Plaintiﬀ
     Jameson J. Watts, Counsel for Plaintiﬀ

                                                                   /s/ William P. Haddock
                                                                   William P. Haddock




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